Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19       PageID.46    Page 1 of 20



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

JESSE KENNEDY,                          Case No. 2:19-cv-10458

                    Plaintiff,

vs.

ARBOR PROFESSIONAL
SOLUTIONS, INC.

                    Defendant.

 DEFENDANT ARBOR PROFESSIONAL SOLUTIONS, INC.'S ANSWER
 AND AFFIRMATIVE DEFENSES TO PLAINTIFF'S FIRST AMENDED
             COMPLAINT AND JURY DEMAND
      NOW COMES Defendant, Arbor Professional Solutions, Inc. ("APS"), by

and through its counsel, and hereby states its Answer and Affirmative Defenses to

Plaintiff's First Amended Complaint and Jury Demand, as follows:

                          JURISDICTION AND VENUE

      1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. §

1692k(d), 15 U.S.C. 1681p, and pursuant to 28 U.S.C. § 1367 for pendent state law

claims, which are predicated upon the same facts and circumstances that give rise

to the federal causes of action.

ANSWER:

Admitted.

      2.     This is an action brought by consumers for violation of the Fair Credit
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.47    Page 2 of 20



Reporting Act, 15 U.S.C. §1681 et. seq. (“FCRA”) and the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

ANSWER:

Admitted only that Plaintiff has asserted claims against Defendant. Denied

that Plaintiff's claims have any merit or that Plaintiff is entitled to any relief.

      3.     The transactions and occurrences which give rise to this action

occurred in Oakland County Michigan.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      4.     Venue is proper in the Eastern District of Michigan.

ANSWER:

Admitted.

                                    PARTIES

      5.     Jesse Kennedy, (“Plaintiff or “Mr. Kennedy”), is a resident of

Southfield, Michigan and is a consumer as defined by the Fair Credit Reporting

Act and the Fair Debt Collection Practices Act.

ANSWER:

Defendant lacks sufficient knowledge and information to form a belief as to

the truth of the allegations in this paragraph. Further, to the extent the


                                         2
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19     PageID.48   Page 3 of 20



allegations in this paragraph constitute a legal conclusion, no response is

required and none is given.

      6.    Defendant Arbor Professional Solutions, Inc., (“APS”) is a furnisher

of information as contemplated by the FCRA, 15 U.S.C. §1681s 2(a) & (b), that

regularly and in the ordinary course of business furnishes information to one or

more consumer reporting agencies about consumer transactions or experiences

with any consumer; and is a “debt collector” as defined by the FDCPA 15 U.S.C. §

1692a(6); and is a "collection agency" as this term is defined in the Michigan

Occupational Code ("MOC"), M.C.L. § 339.901(b).

ANSWER:

Admitted only that Defendant in the course of its business furnishes

information to one or more consumer reporting agencies. The allegations in

this paragraph are denied in all other respects. Further, to the extent the

allegations in this paragraph constitute a legal conclusion, no response is

required and none is given.

                         GENERAL ALLEGATIONS

      7.    Mr. Kennedy while at home on Friday October 14, 2016, suffered a

medical emergency.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the


                                       3
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19      PageID.49      Page 4 of 20



truth of the allegations in this paragraph.

      8.    The City of Southfield Fire Department via EMS provided medical

treatment to Mr. Kennedy at his home.

ANSWER:

Admitted only that Plaintiff received treatment from the City of Southfield

Fire Department. Defendant lacks sufficient knowledge and information to

form a belief as to the truth of any remaining allegations in this paragraph.

      9.    After the medical treatment, Mr. Kennedy provided his Blue

Cross/Blue Shield insurance card for payment of the medical treatment.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      10.   In July of 2017, when reviewing his credit reports from the three

major credit reporting agencies (Equifax, Experian, and Transunion), Mr. Kennedy

noticed a negative entry from Defendant APS.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      11.   The negative entry listed the City of Southfield Fire Department for

an amount of $300.00.


                                        4
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19      PageID.50   Page 5 of 20



ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      12.    In August of 2017, Mr. Kennedy contacted all three major credit

reporting agencies (Equifax, Experian, and Transunion) to dispute the above

referenced error.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      13.    Defendant APS received the disputes from the credit bureaus and then

wrongly verified the inaccurate information with the credit bureaus and failed to

delete the trade line.

ANSWER:

Denied as untrue.

      14.    Both Equifax and Transunion have removed the negative entry of the

City of Southfield Fire Department in the amount of $300.00.

ANSWER:

Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

      15.    Defendant APS continues to list City of Southfield Fire Department


                                        5
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.51   Page 6 of 20



on Mr. Kennedy’s Experian credit report.

ANSWER:

Denied that APS "lists" anything on Plaintiff's Experian credit report, as

Defendant did not prepare, and has no responsibility for preparing, Plaintiff's

Experian credit report. To the extent the allegations in this paragraph mean

to allege that Experian continues to list City of Southfield Fire Department on

Plaintiff's Experian credit report, Defendant lacks knowledge or information

sufficient to form a belief as to the truth of such allegations.

      16.    Upon information and belief, Defendant APS did not request a

deletion.

ANSWER:

Admitted.

      17.    As a result of the negative and inaccurate credit reporting, Mr.

Kennedy’s credit score and credit reputation were adversely affected and he was

denied credit.

ANSWER:

Denied that Defendant made an inaccurate credit report. With respect to all

remaining allegations, Defendant lacks knowledge or information sufficient to

form a belief as to the truth of such allegations.

      18.    Defendant APS was required to conduct an investigation into this


                                         6
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19      PageID.52   Page 7 of 20



specific account on Mr. Kennedy’s consumer report pursuant to 15 U.S.C. §1681i.

ANSWER:

The allegations in this paragraph constitute a legal conclusion, to which no

response is required and none is given. To the extent a response is required,

the allegations in this paragraph are denied as untrue.

       19.   Defendant APS failed to conduct a reasonable investigation and

wrongly verified inaccurate information in connection with Plaintiff’s credit

reports.

ANSWER:

Denied as untrue.

       20.   Defendant APS failed to maintain reasonable procedures to assure the

maximum possible accuracy of Plaintiff’s credit report.

ANSWER:

Denied as untrue.

       21.   The false information was and continues to be furnished by Defendant

APS.

ANSWER:

Denied as untrue.

       22.   Defendant APS failed to reasonably reinvestigate under 15 U.S.C. §

1681s 2(b) and this failure was willful and wrongly verified the inaccurate


                                        7
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.53   Page 8 of 20



information.

ANSWER:

Denied as untrue.

      23.      As a result of Defendant APS’s willful failure to abide by 15 U.S.C. §

1681s 2(b), Plaintiff has suffered and continues to suffer monetary damages and

inability to procure credit at a favorable rate, and/or denial of credit, as well as

damage to credit reputation, attorney fees and costs.

ANSWER:

Denied as untrue.

      24.      Plaintiff seeks equitable damages, including correction or deletion of

the subject trade line from Plaintiff’s credit reports, along with money damages,

both actual and statutory, in whatever amount the jury finds Defendants liable plus

attorney fees, litigation costs and court costs.

ANSWER:

Admitted only that Plaintiff seeks the relief stated. Denied that Plaintiff's

claims have any merit or that Plaintiff is entitled to any relief.

      25.      Defendant APS violated the law as detailed below.

ANSWER:

Denied as untrue.

   COUNT I – VIOLATION OF THE FAIR CREDIT REPORTING ACT


                                           8
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.54    Page 9 of 20



       26.   Plaintiff incorporates the preceding allegations by reference.

ANSWER: Defendant's          responses   to the referenced paragraphs            are

reasserted and incorporated herein by reference.

       27.   Defendant APS was required under 15 U.S.C. § 1681s 2(b), to

respond to the request for reinvestigation initiated by Plaintiff through one or more

credit reporting agencies by completing an inquiry into the facts underlying the

trade line and providing accurate information to the credit reporting agencies

regarding that trade line.

ANSWER:

The allegations in this paragraph constitute a legal conclusion, to which no

response is required and none is given. To the extent a response is required,

the allegations in this paragraph are denied as untrue.

       28.   In the event that Defendant APS was unable to verify the information,

which it had reported, they were required to advise the credit reporting agency of

this fact.

ANSWER:

The allegations in this paragraph constitute a legal conclusion, to which no

response is required and none is given. To the extent a response is required,

the allegations in this paragraph are denied as untrue.

       29.   Following the reinvestigation, APS reported the erroneous credit


                                          9
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.55    Page 10 of 20



 information with actual knowledge of errors, in violation of the FCRA, 15 U.S.C. §

 1681s 2(b).

 ANSWER:

 Denied as untrue.

       30.     Following the reinvestigation, Defendant APS reported the erroneous

 credit information and consciously avoided knowing that the credit information

 was inaccurate, in violation of the FCRA, 15 U.S.C. § 1681s 2(b).

 ANSWER:

 Denied as untrue.

       31.     Following the reinvestigation, Defendant APS reported credit

 information that was not in fact accurate, in violation of the FCRA, 15 U.S.C. §

 1681s 2(b).

 ANSWER:

 Denied as untrue.

       32.     Defendant APS willfully refused to properly put in place adequate

 procedures to reinvestigate the inaccuracies in Plaintiff’s credit report in violation

 of 15 U.S.C. §§ 1681s 2(b) and 1681n.

 ANSWER:

 Denied as untrue.

       33.     In the alternative, Defendant APS negligently failed to put in place


                                          10
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.56    Page 11 of 20



 procedures to complete an adequate reinvestigation of disputed credit information

 in violation of 15 U.S.C. §§ 1681s 2(b) and 168o.

 ANSWER:

 Denied as untrue.

       34.    Defendant APS willfully refused to properly reinvestigate the

 inaccuracies in Plaintiff’s credit report in violation of 15 U.S.C. §§ 1681s 2(b) and

 1681n.

 ANSWER:

 Denied as untrue.

       35.    In the alternative, Defendant APS negligently failed to conduct a

 proper reinvestigation of Plaintiff’s credit reporting dispute in violation of 15

 U.S.C. §§ 1681s 2(b) and 168io.

 ANSWER:

 Denied as untrue.

       36.    Plaintiff has suffered damages as a result of these violations of the

 FCRA, in an amount to be determined by the Court.

 ANSWER:

 Denied as untrue.

       COUNT II – VIOLATION OF THE FAIR DEBT COLLECTION
                         PRACTICES ACT

       37.    Plaintiff incorporates the preceding allegations by reference.

                                          11
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19       PageID.57   Page 12 of 20



 ANSWER: Defendant's          responses      to the referenced paragraphs      are

 reasserted and incorporated herein by reference.

       38.    At all relevant times Defendant APS, in the ordinary course of its

 business, regularly engaged in the practice of collecting debts on behalf of other

 individuals or entities.

 ANSWER:

 Admitted.

       39.    Plaintiff is a "consumer" for purposes of the FDCPA and the account

 at issue in this case is a consumer debt.

 ANSWER:

 The allegations in this paragraph constitute a legal conclusion, to which no

 response is required and none is given. To the extent a response is required,

 the allegations in this paragraph are denied as untrue.

       40.    Defendant APS is a "debt collector" under the Fair Debt Collection

 Practices Act ("FDCPA"), 15 U.S.C. § 1692a(6).

 ANSWER:

 The allegations in this paragraph constitute a legal conclusion, to which no

 response is required and none is given. To the extent a response is required,

 the allegations in this paragraph are denied as untrue.

       41.    Defendant APS’s foregoing acts as described more fully herein of


                                             12
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.58    Page 13 of 20



 illegally attempting to collect this debt violated numerous and multiple provisions

 of the FDCPA, including but not limited to 15 U.S.C. §§ 1692d, 1692d(6), 1692e,

 1692e(2), 1692e(4), 1692e(5), 1692e(8), 1692e(10), 1692f, and 1692f(1), amongst

 others.

 ANSWER:

 Denied as untrue.

       42.   Defendant APS’s continued false statement on Plaintiff's Experian

 credit report has left him not knowing his rights under the FDCPA.

 ANSWER:

 Denied as untrue.

       43.   Plaintiff has also suffered actual damages, economic damages,

 emotional damages, general damages and statutory damages as a result of these

 violations of the FDCPA.

 ANSWER:

 Denied as untrue.



 COUNT III - VIOLATION OF THE MICHIGAN OCCUPATIONAL CODE

       44.   Plaintiff incorporates the preceding allegations by reference.

 ANSWER: Defendant's        responses    to the referenced paragraphs            are

 reasserted and incorporated herein by reference.


                                         13
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.59    Page 14 of 20



       45.   Defendant APS is a "collection agency" as this term is defined in the

 Michigan Occupational Code ("MOC"), M.C.L. § 339.901(b).

 ANSWER:

 The allegations in this paragraph constitute a legal conclusion, to which no

 response is required and none is given. To the extent a response is required,

 the allegations in this paragraph are denied as untrue.

       46.   Plaintiff is a “debtor” as that term is defined in M.C.L. § 339.901(f).

 ANSWER:

 The allegations in this paragraph constitute a legal conclusion, to which no

 response is required and none is given. To the extent a response is required,

 the allegations in this paragraph are denied as untrue.

       47.   Defendant APS’s foregoing acts in attempting to collect this debt

 violated M.C.L. § 339.915.

 ANSWER:

 Denied as untrue.

       48.   Plaintiff has suffered damages as a result of these violations of the

 Michigan Occupational Code.

 ANSWER:

 Denied as untrue.

       49.   These violations of the Michigan Occupational Code by Defendant


                                         14
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.60    Page 15 of 20



 Oliphant [sic] were willful.

 ANSWER:

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of any allegations regarding "Defendant Oliphant." To the extent this

 paragraph purports to assert allegations against Defendant APS, those

 allegations are denied as untrue.

                              COUNT IV – DEFAMATION

       50.    Plaintiff incorporates the preceding allegations by reference.

 ANSWER: Defendant's            responses   to the referenced paragraphs          are

 reasserted and incorporated herein by reference.

       51.    Defendant APS caused to be published one or more written false

 statements which were intended to impeach Plaintiff’s honesty, integrity, credit

 worthiness and/or reputation.

 ANSWER:

 Denied as untrue.

        52.   The defamatory statements were not accurate, including, but not

 limited to, the following:

       a.     That Plaintiff had a derogatory collection account with City of
              Southfield.

 ANSWER:

 Denied as untrue.

                                            15
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19          PageID.61   Page 16 of 20



       53.     Plaintiff is not a public figure.

 ANSWER:

 Defendant lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in this paragraph.



       54.     The statements imputed by Defendant APS to the public through the

 three major credit reporting agencies represents a slur on Plaintiff’s character by

 Defendant, including his honesty, integrity, virtue, or reputation, and credit

 worthiness.

 ANSWER:

 Denied as untrue.

       55.     The defamatory statements resulted in damages to Plaintiff.

 ANSWER:

 Denied as untrue.



                                           Respectfully submitted,

                                           VARNUM LLP
                                           Attorneys for Defendant

 Dated: June 13, 2019                      By: /s/ Jeffrey D. Koelzer
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                                             16
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19   PageID.62   Page 17 of 20



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                                     17
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.63    Page 18 of 20



                               AFFIRMATIVE DEFENSES

       NOW COMES Defendant Arbor Professional Services, Inc., ("Defendant")

 by and through its attorneys, VARNUM LLP, and states the following affirmative

 defenses:

       1.     Plaintiff lacks standing as he has suffered no injury-in-fact as the

 result of any act or omission by Defendant.

       2.     Plaintiff’s claims are barred by the applicable statute of limitations

 and/or repose.

       3.     The alleged act or omission of Defendant giving rise to Plaintiff’s

 FDCPA claims, which Defendant denies occurred, was not intentional and was the

 result of a bona fide error notwithstanding responsible procedures implemented by

 Defendant to avoid any such error.

       4.     Plaintiff’s claims are barred, in whole or in part, because Plaintiff has

 failed to mitigate his alleged damages, if any.

       5.     Any damages sustained by Plaintiff, which Defendant denies exist,

 were not proximately caused by any act or omission of Defendant.

       6.     If Plaintiff suffered or sustained any loss, injury, damage or detriment,

 it was directly and proximately caused and contributed to by the breach, conduct,

 acts, omissions, activities, carelessness, recklessness, negligence, or intentional

 misconduct of others, and not by Defendant.


                                          18
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19         PageID.64    Page 19 of 20



       7.     Defendant asserts that Plaintiff is barred from obtaining the relief

 sought in the Complaint by the doctrines of consent, estoppel, waiver, unclean

 hands, laches or other equitable doctrines.

       8.     Plaintiff has failed to state a claim upon which relief may be granted.

       9.     As Plaintiff’s claims are brought in bad faith or for harassment, or to

 multiply the proceedings, Defendant seeks attorney’s fees against Plaintiff and/or

 Plaintiff’s counsel pursuant to FDCPA § 1692k(a)(3) and/or 28 U.S.C. § 1927.

       10.    Defendant reserves the right to add to or amend this list of defenses up

 to and including the time of trial.

       Wherefore, Defendant prays that Defendant be dismissed with prejudice;

 that judgment be granted to Defendant and that the relief requested by Plaintiff be

 denied; that all costs be taxed to Plaintiff; and for such other and further relief as

 may be just and equitable.




                                          19
Case 2:19-cv-10458-DPH-RSW ECF No. 12 filed 06/13/19        PageID.65   Page 20 of 20



                          CERTIFICATE OF SERVICE

        I hereby certify that on June 13, 2019, I electronically filed the foregoing
 paper with the Clerk of the Court using the ECF system which will send the
 notification of such filing to counsel of record.


                                       By:    /s/ Jeffrey D. Koelzer
                                              Jeffrey D. Koelzer
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